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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                                    CASE NO.

 JOHN A. SCHREIBER,

        Plaintiff,

 v.

 ENTERPRISE RECOVERY SYSTEMS, INC.,

        Defendant.

 _________________________________________/

                                      COMPLAINT
                                     JURY DEMAND

        1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”), and the Florida Consumer Collection Practices Act,

 Fla. Stat. §559.55 et seq. (“FCCPA”).

                             JURISDICTION AND VENUE

        2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and 15

 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here and

 Defendant placed telephone calls into this District.

                                         PARTIES

        3.     Plaintiff, JOHN A. SCHREIBER, is a natural person, and citizen of the

 State of Florida, residing in Broward County, Florida.
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        4.     Defendant, ENTERPRISE RECOVERY SYSTEMS INC., is a corporation

 and citizen of the State of Illinois with its principal place of business at Suite 200, 2400

 South Wolf Road, Westchester, Illinois, 60154.

        5.     Defendant regularly uses the mail and telephone in a business the principal

 purpose of which is the collection of debts.

        6.     Defendant regularly collects or attempts to collect debts for other parties.

        7.     Defendant is a “debt collector” as defined in the FDCPA.

        8.     Defendant was acting as a debt collector with respect to the collection of

 Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.     Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

        10.    Defendant left the following messages on Plaintiff’s voice mail on his

 cellular telephone on or about the date stated:

        October 27, 2009 – Pre-recorded Message
        Please continue holding and the next representative will be with you shortly.
        Press 1 if you wish to continue holding.

        11.    Defendant left messages on other occasions. (Collectively, “the telephone

 messages”).

        12.    The messages are “communications” as defined by 15 U.S.C. §1692a(2).

 See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).




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        13.      Defendant failed to inform Plaintiff in the messages that the communication

 was from a debt collector and failed to disclose the purpose of Defendant’s messages and

 failed to disclose Defendant’s name.

        14.      In addition to the telephone messages Defendant left for Plaintiff, Plaintiff

 spoke with Defendant’s representative via telephone on several occasions.

        15.      In the telephone conversations, Defendant failed to inform Plaintiff that

 Defendant was a debt collector.

        16.      In one of the early telephone conversations, Plaintiff informed Defendant

 that he was represented by an attorney with respect to the alleged debt and informed

 Defendant of the attorney’s name and office location.

        17.      Subsequent to being informed that Plaintiff was represented by an attorney,

 Defendant continued to telephone Plaintiff directly, without the consent to Plaintiff’s

 counsel.

        18.      At the time Defendant placed some of its telephone calls directly to

 Plaintiff, Defendant knew Plaintiff was represented by an attorney with respect to the

 alleged debt.

        19.      Plaintiff’s attorney had not consented to Defendant’s direct communication

 with Plaintiff.

        20.      Plaintiff’s attorney had not failed to respond to any communication of

 Defendant within a reasonable amount of time.

        21.      No court had authorized Defendant’s direct communication with Plaintiff.




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        22.    At the time Defendant some it its telephone calls to Plaintiff, Defendant

 knew the FDCPA prohibited it from communicating directly with Plaintiff.

        23.    If Defendant continues to communicate directly with Plaintiff, Plaintiff will

 be harmed in the future by the inability to avail himself to the representation of his

 counsel.

                                 COUNT I
              FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

        24.    Plaintiff incorporates Paragraphs 1 through 23.

        25.    Defendant failed to disclose in the telephone messages and calls to Plaintiff

 that it is a debt collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys.,

 424 F. Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

 Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs., 2006

 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.      Damages;

               b.      Attorney’s fees, litigation expenses and costs of suit; and

               c.      Such other or further relief as the Court deems proper.

                            COUNT II
        FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

        26.    Plaintiff incorporates Paragraphs 1 through 23.

        27.    Defendant placed telephone calls to Plaintiff without making meaningful

 disclosure of its identity when it failed to disclose that it is a debt collector, its name, and


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 the purpose of Defendant’s communication in the telephone messages and calls in

 violation of 15 U.S.C §1692d(6). See Valencia v The Affiliated Group, Inc., Case No. 07-

 61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008, (S.D.Fla., September 23,

 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F. Supp. 591, 593 (D. Ga. 1982);

 and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp. 2d 1104 (D. Cal. 2005).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.     Damages;

               b.     Attorney’s fees, litigation expenses and costs of suit; and

               c.     Such other or further relief as the Court deems proper.

                         COUNT III
  COMMUNICATION WITH A CONSUMER REPRESENTED BY COUNSEL IN
               VIOLATION OF 15 U.S.C §1692c(a)(2)

        28.    Plaintiff incorporates Paragraphs 1 through 23.

        29.    Defendant communicated directly with Plaintiff when Defendant knew

 Plaintiff was represented by an attorney in violation of 15 U.S.C. §1692c(a)(2).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.     Damages;

               b.     Attorney’s fees, litigation expenses and costs of suit; and

               c.     Such other or further relief as the Court deems proper.

                         COUNT IV
  COMMUNICATION WITH A CONSUMER REPRESENTED BY COUNSEL IN
               VIOLATION OF Fla. Stat. §559.72 (18)


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        30.    Plaintiff incorporates Paragraphs 1 through 23.

        31.    Defendant communicated directly with Plaintiff when Defendant knew

 Plaintiff was represented by an attorney in violation of Fla. Stat. §559.72 (18).

        32.    The FCCPA provides for equitable relief including injunctive relief. Berg v.

 Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla. 2008).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.      Damages;

               b.      Attorney’s fees, litigation expenses and costs of suit;

               c.      declaring that Defendant’s direct communication with Plaintiff

               violates the FCCPA;

               d.      permanently injoining Defendant from direct communication with

               any debtor known to be represented by counsel; and

               e.      Such other or further relief as the Court deems proper.

                           COUNT V
   ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE FLORIDA
              CONSUMER COLLECTION PRACTICES ACT

        33.    Plaintiff incorporates Paragraphs 1 through 23.

        34.    Defendant asserted the right to collect a debt by leaving telephone messages

 for Plaintiff and speaking with Plaintiff directly without disclosing that it is a debt

 collector, its name and the purpose of its communications and by communicating directly

 with Plaintiff when Defendant knew Defendant was represented by counsel, all done



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 when Defendant knew it did not have a legal right to use such collection techniques in

 violation of Fla. Stat. §559.72(9).

        35.    The FCCPA provides for equitable relief including injunctive relief. Berg v.

 Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla. 2008).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.     Damages;

               b.     Attorney’s fees, litigation expenses and costs of suit;

               c.     declaring that Defendant’s practices violate the FCCPA;

               d.     permanently injoining Defendant from engaging in the complained

               of practices; and

               e.     Such other or further relief as the Court deems proper.

                            COUNT VI
         HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                   COLLECTION PRACTICES ACT

        36.    Plaintiff incorporates Paragraphs 1 through 23.

        37.    By failing to disclose that it is a debt collector, its name and the purpose of

 its communication, and by telephoning Plaintiff directly when Defendant knew Plaintiff

 was represented by counsel, Defendant willfully engaged in conduct the natural

 consequence of which is to harass in violation of Fla. Stat. §559.72(7).

        38.    The FCCPA provides for equitable relief including injunctive relief. Berg v.

 Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla. 2008).




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        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.     Damages;

               b.     Attorney’s fees, litigation expenses and costs of suit;

               c.     declaring that Defendant’s practices violate the FCCPA;

               d.     permanently injoining Defendant from engaging in the complained

               of practices; and

               e.     Such other or further relief as the Court deems proper.

                                           JURY DEMAND

        Plaintiff demands trial by jury.

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